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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

KALEO, INC.,                                    )
                                                )
               Plaintiff,                       )
                                                )
       v.                                       )   C.A. No.
                                                )
ADAMIS PHARMACEUTICALS CORP.,                   )
                                                )
               Defendant.                       )

                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff kaleo, Inc. (“kaleo”) for its complaint against defendant, Adamis

Pharmaceuticals Corp. (“Adamis”), and to the best of its knowledge, information and belief,

alleges as follows:

                                  NATURE OF THE ACTION

       1.      This is a civil action for patent infringement under the patent laws of the United

States, Title 35, United States Code. This action arises from Adamis’s submission of New Drug

Application (“NDA”) No. 212854 to the United States Food and Drug Administration (“FDA”)

seeking approval to manufacture and sell a naloxone HCl injector product prior to the expiration

of United States Patent No. 9,022,022 (“the ‘022 Patent”) (attached as Exhibit A), United States

Patent No. 10,143,792 (“the ‘792 Patent”) (attached as Exhibit B), and/or United States Patent

No. 10,238,806 (“the ‘806 Patent”) (attached as Exhibit C), (collectively “Patents-in-Suit”).

                                         THE PARTIES

       2.      kaleo is a corporation organized and existing under the laws of the State of

Virginia, with a principal place of business at 111 Virginia Street, Suite 300, Richmond,

Virginia, 23219.      kaleo is a pharmaceutical company dedicated to developing innovative

solutions for serious and life-threatening medical conditions.
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       3.      kaleo is the holder of approved New Drug Application Nos. 209862 (“kaleo’s

NDA”) and 205787. Pursuant to this NDA, kaleo developed, manufactures, and markets its

naloxone HCl auto injector product under the proprietary name EVZIO® auto-injector. The

EVZIO® product is an easy to use auto-injector prescription product for use in adults and

children for the treatment of an opioid emergency such as an overdose or a possible opioid

overdose.

       4.      In connection with kaleo’s NDA, kaleo submitted information concerning the

‘022 Patent for listing in the FDA’s Approved Drug Products with Therapeutic Equivalence

Evaluations (the “Orange Book”) as required by the Federal Food, Drug, and Cosmetic Act

(“FDCA”) and FDA regulations.

       5.      In connection with kaleo’s NDA, kaleo intended to submit information

concerning the ‘792 Patent for listing in the Orange Book as required by the FDCA on January 2,

2019, however, a typographical error resulted in the wrong patent number being listed. kaleo has

since corrected the typographical error. The ‘792 Patent is listed in the Orange Book.

       6.      Adamis is a corporation organized and existing under the laws of the State of

Delaware, with a principal place of business at 11682 El Camino Real, Suite 300, San Diego,

California, 92130.

       7.      On information and belief, Adamis manufactures, sells, markets, and distributes

pharmaceutical products throughout the United States, including in this district.

       8.      On information and belief, Adamis developed its proposed Naloxone

Hydrochloride (5mg/0.5mL) injection drug product (“the Adamis NDA Product”) and prepared

NDA No. 212854 for submission to the FDA. On information and belief, upon receiving

approval of its NDA No. 212854, Adamis will manufacture, sell, offer to sell, and/or import the

Adamis NDA Product in the United States, including in this district.


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                                JURISDICTION AND VENUE

          9.    This action arises under the patent laws of the United States, United States Code,

Title 35, Section 1, et seq. and the Declaratory Judgment Act. Based on the facts alleged herein,

this Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§ 1331,

1338, 2201 and 2202.

          10.   Adamis has committed an act of patent infringement under 35 U.S.C. § 271(e)(2)

by submitting NDA No. 212854 seeking FDA approval to manufacture, use, sell, and offer for

sale the Adamis NDA Product prior to the expiration of the Patents-in-Suit.

          11.   On information and belief, Adamis sought FDA approval because it intends to

commit acts of patent infringement under 35 U.S.C. § 271(a), (b), and (c) through its

manufacture, use, sale, and offer for sale of the Adamis NDA Product throughout the United

States.

          12.   An actual and justiciable controversy exists between the parties under the patent

laws of the United States, Title 35 of the United States Code.

          13.   By letter dated April 3, 2019, Adamis provided kaleo with notice pursuant to

21 U.S.C. § 355(b)(2)(A)(iv) stating its intention to “engage in the commercial manufacture, use,

sale, of [the Adamis NDA Product] before the expiration of Orange Book listed United States

patents” including the ‘022 Patent. kaleo is bringing this action within 45-days of its receipt of

that notice.

          14.   The Court has personal jurisdiction over Adamis because Adamis is a corporation

organized under the laws of the State of Delaware and is registered to do business in the State of

Delaware under Business ID Number XX-XXXXXXX.




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       15.     On information and belief, this Court also has personal jurisdiction over Adamis

because Adamis has at all relevant times maintained continuous and systematic contacts with the

State of Delaware, including but not limited to, preparing pharmaceuticals that Adamis

distributes throughout the United States.

       16.     On information and belief, the Adamis NDA Product will be marketed and

distributed in Delaware by Adamis, prescribed by physicians practicing in this state, and

dispensed by pharmacies located in this state. Thus, on information and belief Adamis will place

products that will infringe the Patents-in-Suit into the stream of commerce with the reasonable

expectation that actual or potential users of such products are located within this judicial district.

       17.     Venue is proper in this district under 28 U.S.C. § 1400(b) because Adamis is

incorporated in Delaware.

                                         BACKGROUND

                                     kaleo’s EVZIO® Product

       18.     On April 3, 2014, the FDA approved kaleo’s NDA for EVZIO® (naloxone HCl

injection) auto-injector, 0.4 mg, NDA No. 205787. kaleo began marketing the EVZIO® auto-

injector shortly after that approval. On October 19, 2016, the FDA approved kaleo’s NDA for

EVZIO® (naloxone HCl injection) auto-injector, 2 mg, NDA No. 209862.

       19.     EVZIO® is an opioid antagonist indicated for the emergency treatment of known

or suspected opioid overdose, as manifested by respiratory and/or central nervous system

depression, and for immediate administration as emergency therapy in settings where opioids

may be present.




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                                         kaleo’s Patents

       20.     The United States Patent & Trademark Office (“USPTO”) duly and legally issued

the ‘022 Patent, titled “Medicament Delivery Device for Administration of Opioid Antagonists

Including Formulations for Naloxone” on May 5, 2015.

       21.     kaleo is the owner by assignment of the ‘022 Patent, which lists Eric S. Edwards,

Evan T. Edwards, Mark J. Licata and Frank E. Blondino as its inventors. The ‘022 Patent

claims a medicament delivery device for administration of opioid antagonists.

       22.     The USPTO duly and legally issued the ‘792 Patent, titled “Medicament Delivery

Device for Administration of Opioid Antagonists Including Formulations for Naloxone” on

December 4, 2018.

       23.     kaleo is the owner by assignment of the ‘792 Patent, which lists Eric S. Edwards,

Evan T. Edwards, Mark J. Licata and Frank E. Blondino as its inventors. The ‘792 Patent

claims methods of administration of opioid antagonists using a medicament delivery device.

       24.     The USPTO duly and legally issued the ‘806 Patent, titled “Medicament Delivery

Devices for Administration of a Medicament Within a Prefilled Syringe” on March 6, 2019.

       25.      kaleo is the owner by assignment of the ‘806 Patent, which lists Eric S. Edwards,

Evan T. Edwards, Mark J. Licata and Paul F. Meyers as its inventors. The ‘806 Patent claims a

medicament delivery device for administration of medicament, including naloxone, using a

prefilled syringe.

                                          COUNT I
               (Infringement of the ‘022 Patent Under 35 U.S.C. § 271(e)(2)(A))

       26.     kaleo incorporates each of the preceding paragraphs as if fully set forth herein.

       27.     Adamis submitted NDA No. 212854 to the FDA under section 505(b)(2) of the

FDCA seeking to obtain approval to engage in the manufacture, use or sale throughout the



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United States, of the Adamis NDA Product prior to the expiration of the ‘022 Patent. By

submitting NDA No. 212854, Adamis has committed an act of infringement of one or more

claims of the ‘022 Patent under 35 U.S.C. § 271(e)(2)(A).

        28.    The commercial manufacture, use, offer for sale, sale, and/or importation of the

Adamis NDA Product prior to the expiration of the ‘022 Patent would infringe the ‘022 Patent.

        29.    On information and belief, Adamis knows of the ‘022 Patent and knows that its

commercial manufacture, use, offer for sale, sale, and/or importation of the Adamis NDA

Product will actively induce and contribute to the infringement of the ‘022 Patent.

        30.    On information and belief, Adamis knows that the Adamis NDA Product will be

especially made for or especially adapted for use in infringement of the ‘022 Patent, and is not a

staple article or commodity of commerce suitable for substantial non-infringing use, and that its

commercial manufacture, use, offer for sale, sale, and/or importation of the Adamis NDA

Product will actively contribute to the infringement of the ‘022 Patent.

                                     COUNT II
   (Declaratory Judgment of Infringement of the ‘022 Patent Under 35 U.S.C. § 271(a))

        31.    kaleo incorporates each of the preceding paragraphs as if fully set forth herein.

        32.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        33.    An actual case or controversy between kaleo and Adamis exists such that the

Court may entertain kaleo’s request for declaratory relief consistent with Article III of the United

States Constitution.

        34.    Adamis has made, and will continue to make, substantial preparation in the

United States to manufacture, sell, offer to sell and/or import the Adamis NDA Product.




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       35.     Any commercial manufacture, use, offer for sale, sale and/or importation of the

Adamis NDA Product prior to the expiration of the ‘022 Patent will infringe at least claims 18

and 19 of the ‘022 Patent either literally or under the doctrine of equivalents.

       36.     For example, claim 18 of the ‘022 Patent recites an apparatus, comprising a

housing. the Adamis NDA Product apparatus includes a housing.




       37.     Claim 18 of the ‘022 Patent recites an apparatus comprising a medicament

container assembly disposed within the housing.           The Adamis NDA Product includes a

medicament container 212 disposed within the housing.




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       38.    Claim 18 of the ‘022 Patent recites an apparatus comprising a medicament

container assembly including a naloxone composition including a tonicity-adjusting agent and a

pH adjusting agent. On information and belief, the Adamis NDA Product includes a medicament

container assembly including a naloxone composition including a tonicity-adjusting agent and a

pH adjusting agent.

       39.    Claim 18 of the ‘022 Patent recites that the pH of the naloxone composition

ranges from about 3-5.    On information and belief, the Adamis NDA Product includes a

naloxone composition with a pH in the range of 3-5.

       40.    Claim 18 of the ‘022 Patent recites a silicone-based material such that the

medicament container assembly is compatible with the naloxone composition. On information

and belief, the Adamis NDA Product includes a silicone-based material.

       41.     Claim 18 of the ‘022 Patent recites an apparatus comprising a plunger. The

Adamis NDA product includes a plunger 218.




       42.    Claim 18 of the ‘022 Patent recites an actuator moveably coupled to the housing.

the Adamis NDA Product includes an actuator 222 moveably coupled to the housing.

       43.    Claim 18 of the ‘022 Patent recites that the actuator is configured to cause a force

to be exerted on the plunger to expel the naloxone composition from the medicament container


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assembly when the actuator is moved relative to the housing. The Adamis NDA Product

includes an actuator 222 configured to cause a force to be exerted on the plunger to expel the

naloxone composition from the medicament container assembly when the actuator is moved

relative to the housing.

         44.   kaleo is entitled to a declaratory judgment that any commercial manufacture, use,

offer for sale, sale and/or importation of the Adamis NDA Product by Adamis prior to the

expiration of the ‘022 Patent will infringe that patent.

         45.   On information and belief, despite having actual notice of the ‘022 Patent,

Adamis continues to prepare to infringe the ‘022 Patent in disregard of kaleo’s rights, making

this case exceptional and entitling kaleo to reasonable attorneys’ fees pursuant to 35 U.S.C.

§ 285.

                                        COUNT III
               (Declaratory Judgment of Infringement of the ‘022 Patent Under
                                35 U.S.C. § 271(b) and (c))

         46.   kaleo incorporates each of the preceding paragraphs as if fully set forth herein.

         47.   This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

         48.   An actual case or controversy between kaleo and Adamis exists such that the

Court may entertain kaleo’s request for declaratory relief consistent with Article III of the United

States Constitution.

         49.   On information and belief, Adamis has acted with full knowledge of the ‘022

Patent and without a reasonable basis for believing that Adamis would not be liable for actively

inducing or contributing to the infringement of the ‘022 Patent.




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       50.     The commercial manufacture, use, sale, offer for sale, and/or importation of the

Adamis NDA Product would induce the infringement of the ‘022 Patent.

       51.     On information and belief, Adamis knows that its commercial manufacture, use,

sale, offer for sale, and/or importation of the Adamis NDA Product would actively induce the

infringement of the ‘022 Patent.

       52.     Adamis’s acts of infringement will be done with knowledge of the ‘022 Patent

and with the intent to encourage infringement.

       53.     On information and belief, Adamis knows that the Adamis NDA Product will be

especially made or especially adapted for use in an infringement of the ‘022 Patent, and is not a

staple article or commodity of commerce suitable for substantial non-infringing use.

       54.     The commercial manufacture, use, sale, offer for sale, and/or importation of the

Adamis NDA Product will contribute to the infringement of the ‘022 Patent.

       55.     On information and belief, Adamis knows that Adamis’s offer for sale, sale and/or

importation of the Adamis NDA Product would contribute to the infringement of the ‘022 Patent.

       56.     kaleo is entitled to a declaratory judgment that the commercial manufacture, use,

offer for sale, sale, and/or importation of the Adamis NDA Product would induce and/or

contribute to infringement of the ‘022 Patent.

       57.     Unless Adamis is enjoined from actively inducing and contributing to the

infringement of the ‘022 Patent, kaleo will suffer irreparable injury for which damages are not an

adequate remedy.

       58.     On information and belief, despite having actual notice of the ‘022 Patent,

Adamis is preparing to actively induce and/or contribute to infringement of the ‘022 Patent in




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disregard of kaleo’s rights, making this case exceptional and entitling Plaintiffs to reasonable

attorneys’ fees pursuant to 35 U.S.C. § 285.

                                          COUNT IV
                 (Infringement of the ‘792 Patent Under 35 U.S.C. § 271(e)(2))

          59.   kaleo incorporates each of the preceding paragraphs as if fully set forth herein.

          60.   Adamis submitted ANDA No. 212854 to the FDA under section 505(b)(2) of the

FDCA seeking to obtain approval to engage in the manufacture, use or sale throughout the

United States, of the Adamis NDA Product prior to the expiration of the ‘792 Patent. By

submitting ANDA No. 212854, Adamis has committed an act of infringement of the ‘792 Patent

under 35 U.S.C. § 271(e)(2).

          61.   The commercial manufacture, use, offer for sale, sale, and/or importation of the

Adamis NDA Product prior to the expiration of the ‘792 Patent would infringe the ‘792 Patent.

          62.   On information and belief, Adamis knows of the ‘792 Patent and knows that its

commercial manufacture, use, offer for sale, sale, and/or importation of the Adamis NDA

Product would actively induce and contribute to the infringement of the ‘792 Patent.

          63.   On information and belief, Adamis knows or is willfully blind to the fact that the

Adamis NDA Product will be especially made for or especially adapted for use in infringement

of the ‘792 Patent, and is not a staple article or commodity of commerce suitable for substantial

non-infringing use, and that its commercial manufacture, use, offer for sale, sale, and/or

importation of the Adamis NDA Product will actively contribute to the infringement of the ‘792

Patent.




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                                        COUNT V
              (Declaratory Judgment of Infringement of the ‘792 Patent Under
                                35 U.S.C. § 271(b) and (c))

        64.    kaleo incorporates each of the preceding paragraphs as if fully set forth herein.

        65.    This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        66.    An actual case or controversy between kaleo and Adamis exists such that the

Court may entertain kaleo’s request for declaratory relief consistent with Article III of the United

States Constitution.

        67.    On information and belief, Adamis has acted with full knowledge of the ‘792

Patent and without a reasonable basis for believing that Adamis would not be liable for actively

inducing or contributing to the infringement of the ‘792 Patent.

        68.    The commercial manufacture, use, sale, offer for sale, and/or importation of the

Adamis NDA Product would induce the infringement of at least claims 16-26 of the ‘792 Patent

either literally or under the doctrine of equivalents.

        69.    For example, claim 16 of the ‘792 Patent recites a method of delivering a single

dose of a naloxone composition to a patient. On information and belief, the Adamis NDA

Product delivers a single dose of naloxone to a patient.

        70.    Claim 16 of the ‘792 Patent recites a method of delivering a single dose of a

naloxone composition to a patient comprising removing a medical injector containing the

naloxone composition from a case. Use of the Adamis NDA Product includes removing a

medical injector containing the naloxone composition from a case 500.




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       71.    Claim 16 of the ‘792 Patent recites a medical injector including a housing, a

prefilled medicament container assembly, and a needle. The Adamis NDA Product includes a

housing, prefilled medicament container assembly, e.g., 212 and a needle 102.




       72.    Claim 16 of the ‘792 Patent recites a prefilled medicament container assembly

disposed within the housing and including a container body. The Adamis NDA Product includes

a prefilled medicament container assembly 212 disposed within the housing and includes a

container body that defines an internal volume 214.




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       73.    Claim 16 of the ‘792 Patent recites that the naloxone composition is contained

within the container body. In the Adamis NDA Product, the naloxone composition 268 is

contained within the container body internal volume 214.




       74.    Claim 16 of the ‘792 Patent recites an elastomeric member that seals the naloxone

composition within the container body. The Adamis NDA Product includes an elastomeric

member 216 that seals the naloxone composition within the container body.




       75.    Claim 16 of the ‘792 Patent recites that the naloxone composition includes a

tonicity-adjusting agent and a pH adjusting agent. On information and belief, the Adamis NDA



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Product includes a naloxone composition including a tonicity-adjusting agent and a pH adjusting

agent.

         76.   Claim 16 of the ‘792 Patent recites that the pH of the naloxone composition

ranges from 3-5. On information and belief, the Adamis NDA Product includes a naloxone

composition with a pH ranging from 3-5.

         77.   Claim 16 of the ‘792 Patent recites a needle coupled to the prefilled medicament

container assembly before the removing. On information and belief, the Adamis NDA Product

includes a needle coupled to the prefilled medicament container assembly before the medical

injector is removed from the case.

         78.   Claim 16 of the ‘792 Patent recites receiving an instruction associated with a use

of the medical injector.    Use of the Adamis NDA Product includes receiving instructions

associated with its use. For example, the Adamis NDA Product includes visual instructions on

the device.

         79.   Claim 16 of the ‘792 Patent recites placing a portion of the medical injector into

contact with the patient. On information and belief, use of the Adamis NDA Product includes

placing a portion of the medical injector into contact with the patient.

         80.   Claim 16 of the ‘792 Patent recites actuating the medical injector to cause the

elastomeric member to move within the container body to convey the single dose of the naloxone

composition from the container body via the needle. On information and belief, the Adamis

NDA Product includes manually actuating the medical injector to cause the elastomeric member

to move within the container body to convey the single dose of the naloxone composition from

the container body via the needle.




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          81.   On information and belief, Adamis knows or is willfully blind to the fact that its

commercial manufacture, use, sale, offer for sale, and/or importation of the Adamis NDA

Product will actively induce the infringement of the ‘792 Patent.

          82.   On information and belief, Adamis will encourage another’s infringement of the

‘792 Patent by and through the commercial manufacture, use, sale, offer for sale, and/or

importation of the Adamis NDA Product, the use of which is covered by the claims of the ‘792

Patent.

          83.   Adamis’s acts of infringement will be done with knowledge of the ‘792 Patent

and with the intent to encourage infringement.

          84.   On information and belief, Adamis knows or is willfully blind to the fact that the

Adamis NDA Product will be especially made or especially adapted for use in infringement of

the ‘792 Patent, and is not a staple article or commodity of commerce suitable for substantial

non-infringing use.

          85.   The commercial manufacture, use, sale, offer for sale, and/or importation of the

Adamis NDA Product will contribute to the infringement of the ‘792 Patent.

          86.   On information and belief, Adamis knows or is willfully blind to the fact that

Adamis’s offer for sale, sale and/or importation of the Adamis NDA Product will contribute to

the infringement of the ‘792 Patent.

          87.   kaleo is entitled to a declaratory judgment that the commercial manufacture, use,

offer for sale, sale, and/or importation of the Adamis NDA Product would induce and/or

contribute to infringement of the ‘792 Patent.




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       88.     Unless Adamis is enjoined from actively inducing and contributing to the

infringement of the ‘792 Patent, kaleo will suffer irreparable injury for which damages are not an

adequate remedy.

       89.     On information and belief, despite having actual notice of the ‘792 Patent,

Adamis is preparing to actively induce and contribute to infringement of the ‘792 Patent in

disregard of kaleo’s rights, making this case exceptional and entitling Plaintiffs to reasonable

attorneys’ fees pursuant to 35 U.S.C. § 285.

                                        COUNT VI
                (Infringement of the ‘806 patent under 35 U.S.C. § 271(e)(2))

       90.     kaleo incorporates each of the preceding paragraphs as if fully set forth herein.

       91.     Adamis submitted ANDA No. 212854 to the FDA under section 505(b)(2) of the

FDCA seeking to obtain approval to engage in the manufacture, use or sale throughout the

United States, of the Adamis NDA Product prior to the expiration of the ‘806 Patent. By

submitting ANDA No. 212854, Adamis has committed an act of infringement of the ‘806 Patent

under 35 U.S.C. § 271(e)(2).

       92.     The commercial manufacture, use, offer for sale, sale, and/or importation of the

Adamis NDA Product prior to the expiration of the ‘806 Patent would infringe the ‘806 Patent.

       93.     On information and belief, Adamis knows of the ‘806 Patent and knows that its

commercial manufacture, use, offer for sale, sale, and/or importation of the Adamis NDA

Product would actively induce and contribute to the infringement of the ‘806 Patent.

       94.     On information and belief, Adamis knows or is willfully blind to the fact that the

Adamis NDA Product will be especially made for or especially adapted for use in infringement

of the ‘806 Patent, and is not a staple article or commodity of commerce suitable for substantial

non-infringing use, and that its commercial manufacture, use, offer for sale, sale, and/or


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importation of the Adamis NDA Product will actively contribute to the infringement of the ‘806

patent.

                                     COUNT VII
   (Declaratory Judgment of Infringement of the ‘806 Patent Under 35 U.S.C. § 271(a))

          95.   kaleo incorporates each of the preceding paragraphs as if fully set forth herein.

          96.   This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202. An actual case or controversy between kaleo and Adamis exists such that the Court may

entertain kaleo’s request for declaratory relief consistent with Article III of the United States

Constitution.

          97.   Adamis has made, and will continue to make, substantial preparation in the

United States to manufacture, sell, offer to sell and/or import the Adamis NDA Product.

          98.   Any commercial manufacture, use, offer for sale, sale and/or importation of the

Adamis NDA Product prior to the expiration of the ‘806 Patent would infringe at least claims 1-

3, 6-9 and 12-13 of the ‘806 Patent either literally or under the doctrine of equivalents.

          99.   For example, claim 1 of the ‘806 Patent recites an apparatus comprising a cover

member. The Adamis NDA Product includes a cover member 500.




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        100.   Claim 1 of the ‘806 Patent recites a prefilled syringe assembly including a syringe

body, an elastomeric member disposed within the syringe body, and a needle staked to a distal

end portion of the syringe body.      The Adamis NDA Product includes a prefilled syringe

assembly 212 including a syringe body that defines a volume 214, an elastomeric member 216

disposed within the syringe body, and a needle 102 staked to a distal end portion of the syringe

body.




        101.   Claim 1 of the ‘806 Patent recites a proximal end portion of the syringe body

including a flange. The Adamis NDA Product includes a proximal end portion of the syringe

body including a flange 210.

        102.   Claim 1 of the ‘806 Patent recites a piston member having a distal end configured

to move within the syringe body between a first position and a second position to convey a dose

of a medicament from the syringe body through the needle during an injection event. On

information and belief, the Adamis NDA Product includes a piston member 218 having a distal

end configured to move within the syringe body between a first position and a second position to



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convey a dose of a medicament from the syringe body through the needle during an injection

event.

         103.   Claim 1 of the ‘806 Patent recites a syringe enclosure removably disposed within

the cover member. The Adamis NDA Product includes a syringe enclosure (e.g., the device

outer casing) removably disposed within the cover member 500.

         104.   Claim 1 of the ‘806 Patent recites a syringe enclosure defining an internal volume

within which the proximal end portion of the syringe body is disposed before and during the

injection event. The Adamis NDA Product includes a syringe enclosure defining an internal

volume within which the proximal end portion of the syringe body is disposed before and during

the injection event.

         105.   Claim 1 of the ‘806 Patent recites the medicament within the syringe body being

visible through the syringe enclosure when the syringe enclosure is removed from the cover

member. The Adamis NDA Product includes the medicament within the syringe body that is

visible through an opening in the syringe enclosure when the syringe enclosure is removed from

the cover member (i.e., case 500).

         106.   Claim 1 of the ‘806 Patent recites the cover member obstructing the view of the

medicament within the syringe body when the syringe enclosure is within the cover member. On

information and belief, the Adamis NDA Product includes a cover member (i.e., case 500)

obstructing the view of the medicament within the syringe body when the syringe enclosure is

within the cover member.

         107.   Claim 1 of the ‘806 Patent recites a distal end of the needle extending beyond a

distal end surface of the syringe enclosure before and during the injection event. The Adamis




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NDA Product includes a distal end of the needle extending beyond a distal end surface of the

syringe enclosure before and during the injection event.

        108.   Claim 1 of the ‘806 Patent recites a proximal end of the syringe enclosure

including a first stop surface and a second stop surface. The Adamis NDA Product includes a

proximal end of the syringe enclosure including a first stop surface (the bottom of spacer 220)

and a second stop surface (i.e. the element above flange 210).




        109.   Claim 1 of the ‘806 Patent recites that the first stop surface is configured to limit

distal movement of the piston member when piston member is at the second position within the

syringe body. The Adamis NDA Product includes the first stop surface configured to limit distal

movement of the piston member when piston member is at the second position within the syringe

body.

        110.   Claim 1 of the ‘806 Patent recites that the second stop surface is configured to

engage the flange to limit movement of the prefilled syringe assembly within the syringe

enclosure. The Adamis NDA Product includes the second stop surface configured to engage the

flange 210 to limit movement of the prefilled syringe assembly within the syringe enclosure.



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        111.      Claim 1 of the ‘806 Patent recites an actuator operably coupled to the piston

member, movement of the actuator causing a force to be exerted on a proximal end portion of the

piston member. On information and belief, the Adamis NDA Product includes an actuator 222

operably coupled to the piston member, movement of the actuator causing a force to be exerted

on a proximal end portion of the piston member.

        112.      kaleo is entitled to a declaratory judgment that any commercial manufacture, use,

offer for sale, sale and/or importation of the Adamis NDA Product by Adamis prior to the

expiration of the ‘806 Patent will constitute infringement of that patent.

        113.      On information and belief, despite having actual notice, at least as of the filing of

this complaint, of the ‘806 Patent, Adamis will continue to prepare to infringe the ‘806 Patent in

disregard of kaleo’s rights, making this case exceptional and entitling kaleo to reasonable

attorneys’ fees pursuant to 35 U.S.C. § 285.

                                         COUNT VIII
                    (Declaratory Judgment of Infringement of the ‘806 Patent
                                Under 35 U.S.C. § 271(b) and (c))

        114.      kaleo incorporates each of the preceding paragraphs as if fully set forth herein.

        115.      This claim arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        116.      An actual case or controversy between kaleo and Adamis exists such that the

Court may entertain kaleo’s request for declaratory relief consistent with Article III of the United

States Constitution.

        117.      Adamis has actual knowledge of the ‘806 Patent at least as of the date of filing of

this complaint.




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       118.    On information and belief, Adamis will act with knowledge of the ‘806 Patent and

without a reasonable basis for believing that Adamis would not be liable for actively inducing

and contributing to the infringement of the ‘806 Patent.

       119.    The commercial manufacture, use, sale, offer for sale, and/or importation of the

Adamis NDA Product would induce the infringement of the ‘806 Patent.

       120.    On information and belief, Adamis knows or is willfully blind to the fact that its

commercial manufacture, use, sale, offer for sale, and/or importation of the Adamis NDA

Product would actively induce the infringement of the ‘806 Patent.

       121.    On information and belief, Adamis will encourage another’s infringement of the

‘806 Patent by and through the commercial manufacture, use, sale, offer for sale, and/or

importation of the Adamis NDA Product, which is covered by the claims of the ‘806 Patent.

       122.    Adamis’s acts of infringement will be done with knowledge of the ‘806 Patent

and with the intent to encourage infringement.

       123.    On information and belief, Adamis knows or is willfully blind to the fact that the

Adamis NDA Product will be especially made or especially adapted for use in an infringement of

the ‘806 Patent, and is not a staple article or commodity of commerce suitable for substantial

non-infringing use.

       124.    The commercial manufacture, use, sale, offer for sale, and/or importation of the

Adamis NDA Product will contribute to the infringement of the ‘806 Patent.

       125.    On information and belief, Adamis knows or is willfully blind to the fact that

Adamis’s offer for sale, sale and/or importation of the Adamis NDA Product will contribute to

the infringement of the ‘806 Patent.




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       126.    The foregoing actions by Adamis will constitute contributory infringement of the

‘806 Patent.

       127.    kaleo is entitled to a declaratory judgment that future commercial manufacture,

use, offer for sale, sale, and/or importation of the Adamis NDA Product by Adamis will induce

and/or contribute to infringement of the ‘806 Patent.

       128.    Unless Adamis is enjoined from actively inducing and contributing to the

infringement of the ‘806 Patent, kaleo will suffer irreparable injury for which damages are not an

adequate remedy.

       129.    On information and belief, despite having actual notice of the ‘806 Patent,

Adamis will prepare to actively induce and/or contribute to infringement of the ‘806 Patent in

disregard of kaleo’s rights, making this case exceptional and entitling Plaintiffs to reasonable

attorneys’ fees pursuant to 35 U.S.C. § 285.

                                     PRAYER FOR RELIEF

       Plaintiffs respectfully pray for the following relief:

       (a)     That judgment be entered that Adamis has infringed the ‘022 Patent, the ‘792

Patent and the ‘806 Patent under 35 U.S.C. § 271(e)(2)(A) by submitting ANDA No. 212854 to

the FDA, and that the commercial manufacture, use, offer for sale, sale and/or importation of the

Adamis NDA Product prior to the expiration of the ‘022, ‘792 and ‘806 Patents would constitute

infringement of said patents;

       (b)     That the Court enter an Order under 35 U.S.C. § 271(e)(4)(A) that the effective

date of any approval by the FDA of the Adamis NDA Product be a date which is not earlier than

the date of the expiration of the Patents-in-Suit;

       (c)     That a declaration be issued under 28 U.S.C. § 2201 that if Adamis engages in the

commercial manufacture, use, offer for sale, sale and/or importation of the Adamis NDA Product

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prior to the expiration of the ‘022 Patent, the ‘792 Patent and the ‘806 Patent, that will constitute

infringement of those patents;

       (d)     That an injunction be issued under 35 U.S.C. § 283 permanently enjoining

Adamis, Adamis’s officers, agents, servants, employees, licensees, representatives, and

attorneys, and all other persons acting or attempting to act in concert or participation with

Adamis or acting on Adamis’s behalf, from engaging in the commercial manufacture, use, offer

to sale or sale within the United States, or importation into the United States, of any product

covered by or the use of which is covered by the ‘022 Patent, the ‘792 Patent or the ‘806 Patent,

including but not limited to the Adamis NDA Product, prior to the expiration date of such patent,

including any extensions or exclusivities;

       (e)     That damages be awarded to kaleo under 35 U.S.C. §§ 271(a), (b), (c) and/or

35 U.S.C. § 284 for any commercial activities infringing the ‘022 Patent, the ‘792 Patent or the

‘806 Patent;

       (f)     Declaring that this is an exceptional case under 35 U.S.C. § 285 and that kaleo be

awarded reasonable attorneys’ fees and costs; and

       (g)     That this Court award such other and further relief as it may deem just and proper.




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                                     MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                     /s/ Jack B. Blumenfeld

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